                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                    No. 3:06-CR-74-2BR

UNITED STATES OF AMERICA,                           )
                                                    )
              v.                                    )              ORDER
                                                    )
                                                    )
RICKY EDWARD GRAVES                                 )


       On 16 March 2007, defendant filed a motion to compel discovery. Because this matter is

set for trial on 2 April 2007, and in order for the court to promptly rule on this motion, the

government shall file its response, if any, to the motion by 5:00 p.m. 21 March 2007.

       This 20 March 2007.




                                            __________________________________
                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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